           Case 1:20-sw-00324-TCB Document 1 Filed 03/11/20 Page 1 of 21 PageID# 1
AO 106(Rev.04/10) Application lor a Search Wananl



                                      United States District Court
                                                                      for the
                                                          Eastern District of Virginia

             In the Matter of the Search of
         (Driejly describe llie property to be searched
          or icienlify the person byname and address)                             Case No. 1:20-sw-32i         L
                                                                                                                        %//
INFORMATION ASSOCIATED WITH THE CELLULAR                                                    UNDER
        TELEPHONE ASSIGNED CALL NUMBER
                        (202)330-3923                                   )


                                            APPLICATION FOR A SEARCH WARRANT
        i, a federal law enforcement ofllcer or an attorney for the government, request a search warrant and slate under
penalty of perjury that I have reason to believe that on the following person or property {identify the person or describe the



located in (he _           Northern               District of               Texas               ,there is now concealed (identify the
person or describe the property to he seized)'.
 See Attachment B.



          The basis for the search under I'cd. R. Crim. P. 4i(c) is (check one or more)'.
                sf evidence of a crime;
                isf contraband, fruits of crime, or other items illegally possessed;
                sf property designed for use, intended for use, or used in committing a crime;
                  □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                           Offense Description
        18 U.S,C.§ 922(a)(1)(A)                    Selling Firearms without a License.



          The application is based on these facts:
        See attached affidavit.



          O Continued on the attached sheet.
          □ Delayed notice of _                   days (give exact ending date if more than 30 days: _                   ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


AUSA John C- Blanchard/AUSA Morris Parker
                                                                                                 meant s signature

                                                                                      Gordon Cummings, Special Agent, HSI
                                                                                               Printed name and title

Swoni to before me and signed in my presence.                                                                /S/
                                                                                     Theresa uarroil Buchenan
                                                                                     Uniisd-Sfates Magistrate Judge
Date;         March 11. 2020
                                                                                                 Judge's signature
City and state:      Alexandria, Virginia                                Hon. Theresa Carroll Buchanan, United States Magistrate Judge
                                                                                               Printed name and title
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